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 17
                       IN THE UNITED STATES DISTRICT COURT
 18
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
 19
                                   SOUTHERN DIVISION
 20
      MASIMO CORPORATION,              ) Case No. 8:20-cv-00048-JVS-JDE
 21   a Delaware corporation; and      )
      CERCACOR LABORATORIES,           ) PLAINTIFFS’ OPPOSITION TO
 22   INC., a Delaware corporation     ) APPLE’S MOTION IN LIMINE
                                       ) NO. 3: EXCLUDE “IRRELEVANT
 23               Plaintiffs,          ) AND/OR INFLAMMATORY
                                       ) STATEMENTS ATTRIBUTED TO
 24         v.                         ) APPLE’S EMPLOYEES”
                                       )
 25   APPLE INC., a California         ) Date:       March 13, 2023
      corporation                      ) Time:       1:30 p.m.
 26                                    ) Location: Courtroom 10C
                  Defendant.           )
 27                                    )
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 28                    PROPOSED TO BE FILED UNDER SEAL
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  1                               I.     INTRODUCTION
  2         Apple asserts Masimo “will try to inflame and bias the jury against Apple
  3   by taking irrelevant anecdotes about Apple’s corporate culture and history out of
  4   context and by attributing a handful of irrelevant or unfairly prejudicial
  5   statements from individual employees (or former employees) … .” MIL-3 at 1:2-
  6   5. Apple uses “inflame and bias” to mean allowing the jury to reach a conclusion
  7   contrary to Apple’s proposed narrative. Apple uses “irrelevant” to mean relevant
  8   statements about Apple’s culture and informal policies that Apple claims differ
  9   from its official policies. Apple uses “unfairly prejudicial” to refer to relevant
 10   evidence that, if believed, would be harmful to Apple’s case. The Court should
 11   deny Apple’s request for multiple reasons.
 12         First, the Court should deny Apple’s request to exclude vague categories of
 13   evidence. Courts reject such requests because it is not possible to weigh the
 14   probative value of unidentified evidence against its potential prejudice as required
 15   under Rule 403.
 16         Second, the plain meaning of several statements Apple seeks to exclude is
 17   that Apple, and its co-founder Steve Jobs, took pride in copying others’ ideas and
 18   successfully marketing them using Apple’s penchant for slick product design.
 19   Such evidence is relevant in this trade secret case alleging that Apple took
 20   Masimo’s ideas. Apple cannot use a motion in limine to seek summary judgment
 21   that Apple’s proffered interpretation of this evidence is correct.         Apple’s
 22   arguments also depend on the jury adopting Apple’s proposed interpretation.
 23   Under the plain meaning, the statements are relevant because they relate to
 24   Apple’s view of copying and stealing. And the statements cannot be unfairly
 25   prejudicial under any interpretation. If the jury accepts Apple’s assertion that the
 26   statements are innocent, Apple will not be prejudiced. If the jury adopts the plain
 27   meaning, there is nothing unfair about the jury considering relevant evidence that
 28   is damaging to Apple. When relevance turns on how the evidence is interpreted,
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  1   the issue is one for the jury and cannot be decided by the court on a motion in
  2   limine.
  3         Third, Apple seeks to exclude two politically incorrect statements from
  4   O’Reilly: one that Masimo agreed not to present and one that Masimo would
  5   have agreed not to present if Apple had identified it during the meet-and-confer.
  6   These statements highlight the difference between irrelevant evidence that is
  7   properly excluded and the relevant evidence Apple improperly seeks to exclude.
  8   Masimo will not introduce the statements by O’Reilly because they are irrelevant
  9   regardless of what O’Reilly meant.         It does not matter whether O’Reilly is
 10                        or Apple cares too much about                                     .
 11   Neither interpretation has anything to do with the case. This contrasts starkly
 12   with Apple’s other statements about shamelessly stealing others’ ideas.
 13                              II.    LEGAL STANDARDS
 14         Courts in the Ninth Circuit recognize that, “‘[o]f course, all relevant
 15   evidence is prejudicial; Rule 403 is concerned only with limiting ‘unfair’
 16   prejudice.’” Marriner v. Cal. Army Nat’l Guard, 2006 WL 2402063, at *15
 17   (E.D. Cal. Aug. 18, 2006) (quoting United States v. Simpson, 910 F.2d 154, 158
 18   (4th Cir. 1990)); see U.S. v. Gohn, 895 F.2d 1418 (9th Cir. 1990) (unpublished)
 19   (“All relevant evidence is prejudicial to some degree, but it is only evidence in
 20   which prejudice outweighs weak relevance that is proscribed.”)
 21         Another court in this Circuit similarly observed that, “[a]ll relevant
 22   evidence is prejudicial, but it is ‘unfairly prejudicial’ only if it tends to suggest or
 23   encourage a decision on improper reasoning.” McClure v. State Farm Life Ins.
 24   Co., 341 F.R.D. 242, 258 (D. Ariz. 2022) (emphasis added); see Carter v. Hewitt,
 25   617 F.2d 961, 972 at n.14 (3d Cir. 1980) (“Virtually all evidence is prejudicial or
 26   it isn’t material. The prejudice must be ‘unfair.’”).
 27         “‘Unfair prejudice,’ in turn, means ‘an undue tendency to suggest decision
 28   on an improper basis, commonly, though not necessarily, an emotional one.’”
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  1   U.S. v. Allen, 341 F.3d 870, 886 (9th Cir. 2003) (quoting Fed. R. Evid 403,
  2   advisory committee notes); see also Marriner, 2006 WL 2402063, at *15
  3   (“Unfair prejudice is characterized as ‘the possibility that the evidence will excite
  4   the jury to make a decision on the basis of a factor unrelated to the issues
  5   properly before it.’” (emphasis added) (quoting Mullen v. Princess Anne
  6   Volunteer Fire Co., Inc., 853 F.2d 1130, 1134 (4th Cir. 1988)).
  7         Accordingly, “evidence need not be excluded simply because it is
  8   prejudicial.” McClure, 341 F.R.D. at 258. This is because Rule 403 does not
  9   require preclusion of evidence simply because it has “a prejudicial effect that
 10   outweighed its probative value.” Id. “The prejudice must be ‘unfair prejudice’
 11   and that must ‘substantially outweigh’ any probative value.” Id. Accordingly,
 12   the Ninth Circuit has found that even extremely “prejudicial” evidence, such as
 13   “skinhead and other white supremacy evidence” is not unfairly prejudicial in a
 14   case where racial animus is relevant. Allen, 341 F.3d at 886.
 15                                  III.   ARGUMENT
 16   A.    Apple’s Motions Violate The Court’s “Four MIL” Rule
 17         Absent certain exceptions or a motion for relief, this Court allows only four
 18   motions in limine per side. Dkt. 36 at 4-5. Apple filed four formal motions, but
 19   each motion seeks to exclude numerous separate, and largely unrelated,
 20   categories of evidence. Apple should not be allowed to circumvent the four-
 21   motion rule by combining multiple motions. The Court should deny Apple’s
 22   motions under the four-motion rule. See Dkt. 36.
 23   B.    The Court Should Deny Apple’s Requests to Exclude Broad and
 24         Poorly Defined Categories of Potential Evidence
 25         The Court should deny Apple’s Motion as facially overbroad because it
 26   seeks to exclude broad categories of evidence. Apple’s conclusion requests relief
 27   that is far broader than the evidence Apple substantively discusses in its Motion.
 28   Apple asks the Court to preclude Masimo from:
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   1         [P]resenting any evidence, testimony, or argument about irrelevant
   2         and/or unduly prejudicial statements attributed to Apple’s current
   3         and former employees, including but not limited to Steve Jobs and
   4         Dr. Michael O’Reilly and from referencing in any way pirates,
   5         political positions taken by Apple or its leadership, or the concept of
   6         “efficient infringement.
   7   MIL-3 at 8:11-16 (emphases added).1 Apple does not support exclusion of the
   8   broad range of potential evidence that follows the “including but not limited to”
   9   clause. Nor would Apple’s vague description provide any meaningful guidance
  10   regarding the evidence or arguments that would be excluded.
  11         This Court held in another case that “[t]he Court cannot complete its
  12   Rule 403 analysis without the specific evidence to be offered.” Trovata, Inc v.
  13   Forever 21, Inc., 2009 WL 10671582, at *4 (C.D. Cal. Mar. 4, 2009) (emphasis
  14   added). This Court denied a motion to exclude prior litigation because “[t]he
  15   Court does not believe that prior litigation is so prejudicial that it should be
  16   categorically excluded under Rule 403 of the Federal Rules of Evidence.” Id.
  17         This Court’s prior holding is consistent with the approach of other courts in
  18   this District and the Ninth Circuit, including in cases involving Apple. See
  19   McCoy v. Kazi, 2010 WL 11465179, at *12 (C.D. Cal. Aug. 27, 2010) (“A
  20   motion in limine may be denied for being vague and overbroad.”); Apple Inc. v.
  21   Samsung Elecs. Co., 2016 WL 824711, at *1 (N.D. Cal. Mar. 2, 2016) (denying
  22   motion because “Apple has not identified what additional specific evidence
  23   Samsung seeks to use at trial that Apple wishes to exclude in this motion in
  24   limine.”); Lego v. Stratos Int’l, Inc., 2004 WL 5518162, at *1 (N.D. Cal. Nov. 4,
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         The Court could summarily deny the Motion as moot because Apple’s request is
  27   limited to “irrelevant” and “unduly prejudicial” evidence, which is already
  28   addressed by Rules 402 and 403.

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   1   2004) (denying motion in limine because the “requested relief is vague and
   2   overbroad”). Another court in this District observed that, “[m]otions in limine
   3   that seek to exclude categories of evidence, without identifying specific evidence,
   4   are rarely appropriate.” Stars & Bars, LLC v. Travelers Casualty Ins. Co. of Am.,
   5   2020 WL 4342250, at *4 (C.D. Cal. May 28, 2020).
   6         Here, this Court can similarly deny Apple’s entire motion because it seeks
   7   to exclude broad and poorly defined categories of evidence. Alternatively, the
   8   Court could address the more specific categories and evidence that Apple
   9   substantively discusses in its Motion and deny Apple’s request for the reasons
  10   below.
  11   C.    The Court Should Deny Apple’s Request to Exclude Specific Evidence
  12         About Apple’s Corporate Culture or History
  13         Apple argues “[t]he Court should prohibit Plaintiffs from misrepresenting
  14   anecdotes that could, when taken out of context, suggest that Apple has a
  15   corporate culture disrespectful of intellectual property protections.” MIL-3 at
  16   1:23-25 (emphases added). Masimo has no intention of misrepresenting anything
  17   or taking anything out of context. But Apple cannot unilaterally dictate which
  18   representations are correct or how best to define the appropriate context for each
  19   statement. The jury, not Apple, should make those judgments.
  20         The only specific evidence of Apple’s corporate culture that Apple seeks to
  21   preclude is “Apple’s use of a skull-and-crossbones flag” at corporate events and
  22   in front of Apple buildings. See MIL-3 at 1-2. Apple’s use of pirate imagery
  23   includes flying a pirate flag—with the eye-patch replaced with the Apple logo:
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   8   Ex. A. Apple argues its use of pirate imagery stems from a corporate retreat at
   9   which Jobs “reportedly said that ‘[i]t’s better to be a pirate than to join the navy,’
  10   … .” MIL-3 at 2. Apple seeks to exclude pirate imagery because, as Apple
  11   concedes, it connotes theft and robbery. See MIL-3 at 1-2.
  12         The jury could reasonably conclude that embracing pirate imagery suggests
  13   that Jobs and Apple supported pirating the ideas of others, regardless of Apple’s
  14   formal policies. Such a conclusion is reasonable, particularly when combined
  15   with other evidence that Apple seeks to exclude, such as Jobs’ admiration of the
  16   saying that “good artists copy great artists steal” and his admission that: “we
  17   [Apple] have always been shameless about stealing great ideas[.]”                These
  18   statements are addressed below in later sections. See, infra, Section III.D.2.
  19         Evidence of Apple’s culture of piracy may also be important to rebut any
  20   argument by Apple that it was an innocent victim of misappropriation by Lamego
  21   and/or O’Reilly.     Such evidence is admissible to prove intent, knowledge,
  22   absence of mistake, and lack of accident. Fed. R. Evid. 404(b)(2).
  23         Evidence of corporate culture or attitudes toward copying is relevant in
  24   cases that allege copying. In William Hablinski Architecture v. Amir Const. Inc.,
  25   2005 WL 4658149 (C.D. Cal. Feb. 27, 2005), a party argued evidence of “a
  26   ‘corporate culture’ that allegedly ‘teaches’ or encourages [] employees to copy
  27   other architectural works and pass them off as original is irrelevant and therefore
  28   inadmissible.”   Id. at *3.    It also argued that evidence of infringing “other
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   1   more or less likely” or has “to do with inventorship[.]” MIL-3 at 7-8. Evidence
   2   that Apple “steals intellectual property from other companies” makes it more
   3   likely that Apple misappropriated Masimo’s trade secrets and filed patents on
   4   Masimo’s inventions. That is in stark contrast to the O’Reilly evidence that
   5   Masimo agreed not to use. See, infra, Section III.D.3. The (valid) concern about
   6   O’Reilly’s statements is that the jury may dislike him if the jury thinks he is
   7                    . O’Reilly’s                                 are irrelevant because
   8   this is not a gender or racial discrimination case. Evidence of Apple’s culture of
   9   theft and copying, however, is relevant to this trade secret case.
  10         Apple also argues that, if the pirate imagery is admitted, “Apple would
  11   have to put on rebuttal evidence[.]” MIL-3 at 2. But that is true of all evidence
  12   harmful to Apple’s case.        It hardly provides a reason to exclude evidence.
  13   Rule 403 “does not offer protection against evidence that is merely prejudicial, in
  14   the sense of being detrimental to a party’s case. Rather, the rule only protects
  15   against evidence that is unfairly prejudicial.” Carter, 617 F.2d at 972. If the
  16   evidence were truly irrelevant, it would not require rebuttal and Apple would
  17   ignore it.     See id. at n.14 (“Virtually all evidence is prejudicial or it isn’t
  18   material.”).     Apple’s assertion that rebuttal evidence would “correct the
  19   misimpressions” shows Apple’s use of pirate imagery is not “unfairly prejudicial”
  20   because Apple says it can negate the effects. Again, this contrasts with the
  21   O’Reilly statements because it might be difficult to change an impression that
  22   O’Reilly is
  23         Allowing evidence from which the jury could draw reasonable inferences
  24   that Apple would prefer the jury not draw is both relevant and fair. See id. (“Of
  25   course, ‘unfair prejudice’ as used in Rule 403 is not to be equated with testimony
  26   simply adverse to the opposing party.”). Ultimately, the meaning of Apple’s
  27   pirate imagery is a question of fact for the jury.
  28         The trier of fact may ultimately adopt Plaintiff’s interpretation and
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   1         conclude, as Plaintiffs strenuously argue, that [an alternative] was
   2         neither considered nor feasible during the relevant time period.
   3         However, that is not a question for the Court to decide on a motion
   4         in limine. The [alternative] is relevant evidence that tends to prove
   5         or disprove matters essential to resolve a material dispute over
   6         damages.
   7   Integra Lifesciences I, Ltd. v. Merck KgaA, 2000 WL 35717873, at *4 (S.D. Cal.
   8   Jan. 27, 2000).
   9         Apple cannot exclude evidence simply because Apple does not like it,
  10   particularly when Apple is affirmatively relying on its own “official” corporate
  11   policies. Nor can Apple use a motion in limine to seek summary judgment that
  12   Apple’s interpretation is the only “correct” interpretation. The Court should not
  13   exclude Apple’s use of pirate imagery.
  14   D.    The Court Should Deny Apple’s Request to Exclude “Irrelevant” And
  15         “Inflammatory” Statements By Apple Employees
  16         Apple says it seeks to exclude “irrelevant” and/or “inflammatory”
  17   statements by Apple employees, including its co-founder, Steve Jobs.              As
  18   discussed above, courts do not exclude vague categories of evidence. See supra,
  19   Section III.B. Indeed, another court in this Circuit specifically held that a request
  20   to exclude “inflammatory” statements is too vague. See Haeger v. Goodyear Tire
  21   & Rubber Co., 2009 WL 10635666, at *1 (D. Ariz. Sept. 10, 2009) (“The request
  22   regarding inflammatory commentary is too vague and is denied.”).
  23         1.     References to Efficient Infringement
  24         “Efficient infringement”—which is more accurately described as predatory
  25   infringement—suggests that, for some large companies, it may be economically
  26   rational to knowingly violate others’ intellectual property rights because the
  27   benefits will outweigh the legal fees and damages.          Apple’s reputation for
  28   efficient infringement is so well-known that Congress questioned Apple’s CEO,
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   1   Tim Cook, about it. See MIL-3 at 4, n.5. Apple does not ask the Court to
   2   exclude all evidence regarding efficient infringement. Rather, Apple asks the
   3   Court to prohibit Masimo “from suggesting that Apple employs a strategy of so-
   4   called ‘efficient infringement’ as a substitute for licensing intellectual property or
   5   developing its own technologies.” MIL-3 at 3.
   6         Apple argues that the concept of efficient infringement is “entirely
   7   irrelevant to the trade secret misappropriation claims in this case, … .” MIL-3
   8   at 3:6-7. That is false. Efficient infringement is highly relevant because evidence
   9   shows Apple decided to obtain Masimo’s ideas and technology through
  10                                  instead of acquiring the information lawfully. Ex.
  11   E. Evidence also indicates O’Reilly
  12                                                       but Apple decided to hire him
  13   anyway. Ex. F. This evidence suggests Apple knowingly, or at least recklessly,
  14   sought to obtain Masimo’s trade secrets through improper means.
  15         Apple argues that Masimo has not “elicited any evidence whatsoever that
  16   Apple actually employs an ‘efficient infringement’ strategy” and that Masimo
  17
  18
  19   Id. at 3:7-9, 4:16-18.
  20                             See Ex. 2, ¶ 5 (p.2); MIL-3 at 4:26-27, n.5. The Court
  21   should not allow Apple to use its own withholding of documents to prevent
  22   Masimo from asking questions at trial.
  23         Apple argues that even “[r]eferences to ‘efficient infringement’ would
  24   cause unfair prejudice to Apple and juror confusion, as it could be used to
  25   (falsely) suggest that Apple systematically infringes intellectual property rights . .
  26   . .” MIL-3 at 5. Nothing supports Apple’s assertion that it would be unfair for
  27   Masimo to ask questions in support of a theory with which Apple disagrees. If
  28   Masimo cannot show Apple engages in efficient infringement, then Apple has
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   1   nothing to worry about. But merely arguing Masimo will not succeed is no basis
   2   to prevent Masimo from trying.
   3         Moreover, as discussed above, Apple has made clear that it intends to elicit
   4   evidence that it has an innovative “culture” that would never steal from others.
   5   Excluding contrary evidence (that Apple has a history of engaging in “efficient
   6   infringement”) would unfairly prejudice Masimo by allowing the jury to hear
   7   only evidence Apple wants it to hear. The Court should not exclude evidence of
   8   Apple’s “efficient infringement.”
   9         2.     Statements By Steve Jobs
  10         Apple asks the Court to exclude two specific Steve Jobs quotes. MIL-3 at
  11   5. First, Apple seeks to exclude Jobs’ statement that “good artists copy, great
  12   artists steal.” Id. at 5:10. Apple omits the next sentence, which is far more
  13   damning. Steve Jobs went on to say, “we [meaning Apple] have always been
  14   shameless about stealing great ideas… .” Ex. G (emphases added). Apple
  15   should not be allowed to address for the first time on Reply statements it did not
  16   address in its opening brief.
  17         Second, Apple seeks to exclude Jobs’ statement that “[i]t’s better to be a
  18   pirate than join the Navy.” MIL-3 at 5:11-12. This second quote should not be
  19   excluded for the reasons set forth above regarding Apple’s use of the pirate flag.
  20   See supra, Section III.C.
  21         A jury could give these statements by Apple’s co-founder and long-time
  22   leader their plain meaning and reasonably conclude that Apple (1) has always
  23   been shameless about stealing other peoples’ ideas and (2) encourages, or was at
  24   least founded on, a culture of copying and piracy. These quotes are relevant
  25   because this case is about the subject matter of these quotes—whether Apple
  26   stole Masimo’s trade secrets and filed patents on Masimo’s inventions.
  27   Accordingly, these statements present no risk of “unfair prejudice” because there
  28   is no “‘possibility that the evidence will excite the jury to make a decision on the
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   1   basis of a factor unrelated to the issues properly before it.’” Marriner, 2006 WL
   2   2402063, at *15. The evidence is relevant to Masimo’s claims.
   3         Apple presents only four sentences of argument regarding relevance.
   4   Apple asserts, without explanation or supporting citation, that Jobs’ statements
   5   are irrelevant to the issues in the case. MIL-3 at 5. Apple is wrong. The
   6   statements are about stealing ideas from others and this case is about whether
   7   Apple stole ideas from Masimo. Apple also asserts, again without support, that
   8   the first statement was quoting Picasso and the second statement was made in
   9   the 1980s to the team creating the original Macintosh computer. Id. at 5. That is
  10   irrelevant. A reasonable interpretation of both statements is that Apple’s founder
  11   and leader supported a culture of misappropriating ideas from others.
  12         Disputes about the meaning of evidence are not a basis to exclude
  13   evidence. Interpreting facts, including the meaning of statements, is a task for the
  14   jury at trial—not the court on a motion to exclude. See Integra Lifesciences,
  15   2000 WL 35717873, at *4.; Siring v. Or. State Bd. of Higher Educ. ex rel. E. Or.
  16   Univ., 927 F. Supp. 2d 1069, 1073-74 (D. Or. 2013) (disagreement “over
  17   “interpretation of the facts” goes to “the weight and impeachability of [the
  18   expert’s] testimony, not its admissibility”); Ramirez v. Bockholt, 2020 WL
  19   7383297, at *1 (D. Utah Dec. 16, 2020) (where the record creates a “fact dispute
  20   concerning what was said and its reasonable interpretation[,]” asserting a
  21   statement “is factually fictitious” is no basis to exclude an expert); Tibbs, v.
  22   Welded Constr., L.P., 2021 WL 5240881, at *3 (N.D. W. Va. Aug. 20, 2021)
  23   (denying motion to exclude because “it is clear that the parties dispute centers on
  24   [the expert’s] interpretation of disputed underlying facts concerning plaintiff’s
  25   training and experience”).
  26         Apple also argues Jobs’ statements are inadmissible based on rulings in
  27   two patent cases. MIL-3 at 5. But patent infringement is a strict liability tort to
  28   which independent development is not a defense. Whether evidence of copying
                                              -13-
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   1   and piracy was relevant in patent cases has nothing to do with its relevance here.
   2         Moreover, Apple’s cases do not support its position. The first case Apple
   3   cites is irrelevant because the motion was unopposed. See Pinn, Inc. v. Apple,
   4   Inc., 2021 WL 4777134, at *2-3 (C.D. Cal. July 14, 2021).
   5         The second case supports Masimo. Apple cites Contentguard Holdings,
   6   Inc. v. Amazon.com, Inc., 2015 WL 11089490, at *5 (E.D. Tex. Sept. 4, 2015) as
   7   excluding evidence about Jobs’ statements to biographer Walter Issacson. Apple
   8   omits that, in the same case and on the same day, the court declined to exclude
   9   the PBS documentary titled “Triumph of the Nerds.”             See ContentGuard
  10   Holdings, Inc. v. Amazon.com, Inc., et al., No. 2:13-cv-1112, D.I. 901, at *5 (E.D.
  11   Tex. Sept. 4, 2015). That PBS documentary included Jobs’ quote “good artists
  12   copy great artists steal.” See Ex. G. Thus, Apple’s second case supports denying
  13   Apple’s requests, at least as to that quote.
  14         Apple’s prejudice arguments are also incorrect. Apple argues that allowing
  15   evidence of statements from Apple’s co-founder “would tend to confuse the jury
  16   as to who the relevant decision makers within Apple were during the events at
  17   issue in the case[.]” MIL-3 at 5-6. Apple severely underestimates the jury. The
  18   evidence in this case, including emails involving Lamego, O’Reilly, Cook, and
  19   Perica, will inform the jury of the relevant decision makers at Apple.
  20         Apple also argues that admitting this evidence would lead to undue delay
  21   “because it would require Apple to put on rebuttal evidence to contextualize the
  22   Jobs-related evidence so the jury would not be misled.” MIL-3 at 6:2-3. This is
  23   insufficient to exclude the statements. The few minutes it would take to present
  24   Apple’s evidence of context would not “substantially” outweigh the probative
  25   value of the evidence. See Fed. R. Evid. 403. In addition, as discussed above,
  26   Apple’s desire to submit rebuttal evidence shows the evidence is relevant. And
  27   Apple’s confidence on the merits refutes Apple’s claim of unfair prejudice.
  28         Apple also argues the Court should exclude Jobs’ statements because other
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   1   courts have done so. See MIL-3 at 6. But Apple’s cited cases (Optis, Core
   2   Wireless, In re Apple iPod, Emblaze) are all patent or antitrust cases where proof
   3   of improper acquisition is not required. And three of the four cases do not
   4   support Apple for additional reasons. See Optis Wireless Tech., LLC v. Apple
   5   Inc., No. 2:19-cv-66, ECF No. 437 at 248:12-24 (E.D. Tex. July 29, 2020)
   6   (granting limited motion and finding Jobs’ quotes related to the litigation were
   7   admissible); Apple iPod iTunes Antitrust Litig., 2014 WL 12719192, at *4 (N.D.
   8   Cal. Nov. 18, 2014) (excluding evidence regarding Jobs’ character only during
   9   Plaintiffs’ case-in-chief); Emblaze Ltd. v. Apple Inc., No. 5:11-CV-01079, Dkt.
  10   519 (N.D. Cal. June 18, 2014) (excluding evidence regarding Jobs’ character).
  11            Apple’s arguments and cases do not support its requested relief. Evidence
  12   of a corporate culture that was founded on and celebrates taking others’ ideas is
  13   relevant in this trade secret case. Moreover, Apple’s antitrust case supports
  14   Masimo because the court held plaintiffs “may introduce such evidence if Apple
  15   places Mr. Jobs’s character at issue.”         iTunes Antitrust Litig., 2014 WL
  16   12719192, at *4.
  17                                                                See Ex. C at 132:15-
  18   133:4.        The Court should deny Apple’s request to exclude the two Jobs
  19   statements regarding piracy, copying, and stealing ideas.
  20            3.     Unidentified Statements By Michael O’Reilly and Others
  21            Apple asks the Court to preclude Masimo “from offering evidence,
  22   testimony, or argument concerning irrelevant and/or unduly prejudicial
  23   statements by Dr. Michael O’Reilly.” MIL-3 at 6. Worse yet, Apple slips in at
  24   the end that it is also asking the Court to exclude reference to such statements by
  25   “any other Apple employee.” Id. at 7.
  26            Evidence that is “irrelevant” or whose probative value is substantially
  27   outweighed by a danger of “undue prejudice” is already addressed by Rules 402
  28   and 403. Apple’s request is vague and overboard because it does not identify all
                                               -15-
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   1   statements by O’Reilly, much less by any other Apple employee, that Apple
   2   seeks to exclude. Thus, the Court should deny Apple’s vague and overbroad
   3   request. See Trovata, 2009 WL 10671582, at *4; Stars & Bars, 2020
   4   WL 4342250, at *4, McCoy, 2010 WL 11465179, at *12; Apple, 2016
   5   WL 824711, at *1; Lego, 2004 WL 5518162, at *1; Lopez v. Chula Vista Police
   6   Dep’t, 2010 WL 685014, at *7 (S.D. Cal. Feb. 18, 2010); Haeger, 2009 WL
   7   10635666, at *1.
   8         Apple mentions only two specific statements by O’Reilly. First,
   9
  10
  11                         Ex. 6 at 222:13-20 (p.56). Apple identified this statement
  12   during the meet-and-confer and, as Apple admits, Masimo readily agreed not to
  13   present evidence or argument regarding it. MIL-3 at 7 n.6.
  14         Second, Apple seeks to exclude reference to
  15
  16                                                                         Ex. 7 at 22.
  17   Apple never identified this statement during the meet-and-confer and raised it for
  18   the first time in its Motion. Had Apple asked about this statement, Masimo
  19   would have agreed not to introduce or refer to it either. The Court should deny
  20   Apple’s request as moot because Masimo will not to raise either statement at trial.
  21         Masimo agrees not to introduce these statements because they are
  22   fundamentally different from the statements by Jobs and others regarding piracy
  23   or stealing ideas. O’Reilly’s            statement is irrelevant regardless of what
  24   he meant. Whether he used the term to refer to
  25                                      the statement would not make any fact of
  26   consequence more or less likely.       His second statement is also irrelevant
  27   regardless of what he meant. Whether Apple
  28                                                                           would not
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   1   make any material fact more or less likely.
   2         4.     Unidentified Political Positions and Media Reports/Speculation
   3         Finally, Apple asks the Court to preclude Masimo “from offering evidence,
   4   testimony, or argument about political positions attributed to Apple or its
   5   leadership, media reports unrelated to this litigation, and media speculation about
   6   Apple.”    MIL-3 at 7:20-22.       This is the most obvious example of Apple’s
   7   overreaching, as Apple does not identify any political position, media statement,
   8   or media speculation to exclude. Id. at 7-8. As discussed, “[m]otions in limine
   9   that seek to exclude categories of evidence, without identifying specific evidence,
  10   are rarely appropriate.” Stars & Bars, 2020 WL 4342250, at *4.
  11         The Court cannot evaluate the potential relevance under Rule 402 of
  12   hypothetical unidentified evidence or “complete its Rule 403 analysis without the
  13   specific evidence to be offered.         Trovata, 2009 WL 10671582, at *4.
  14   Accordingly, the Court should deny Apple’s request. See McCoy, 2010 WL
  15   11465179, at *12 (denying request that is “vague and too sweeping in scope to be
  16   decided on a motion in limine”).
  17                                IV.     CONCLUSION
  18         For the foregoing reasons, Plaintiffs respectfully request this Court deny
  19   Apple’s MIL-3, except as to the two specifically identified statements by
  20   O’Reilly that Masimo agrees it will not introduce.
  21
                                       Respectfully submitted,
  22
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  23
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   1                           CERTIFICATE OF COMPLIANCE
   2              The undersigned, counsel of record for Plaintiffs’ Masimo Corp. and
   3   Cercacor Laboratories, Inc., certifies that this brief contains 5,221 words, which
   4   [choose one]:
   5   X complies with the word limit of L.R. 11-6.1.
   6   __ complies with the word limit set by court order dated [date].
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